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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 Securities and Exchange Commission,

                           Plaintiff,                            22 Civ. 6426 (LGS)

                    -against-                            xxxxxxxxxxxx JUDGMENT AS TO
                                                        [PROPOSED]
                                                           DEFENDANT MARK KLEIN
 Mark Klein,
 Eduardo Rubinstein, and
 Pablo Rubinstein,

                           Defendants

       The Securities and Exchange Commission having filed a Complaint and Defendant Mark

Klein (“Defendant”) having entered a general appearance; consented to the Court’s jurisdiction

over Defendant and the subject matter of this action; consented to entry of this Judgment without

admitting or denying the allegations of the Complaint (except as to jurisdiction and except as

otherwise provided herein); waived findings of fact and conclusions of law; and waived any right

to appeal from this Judgment:

                                                 I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of

interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:

       (a) to employ any device, scheme, or artifice to defraud;




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       (b) to make any untrue statement of a material fact or to omit to state a material fact

           necessary in order to make the statements made, in the light of the circumstances

           under which they were made, not misleading; or

       (c) to engage in any act, practice, or course of business which operates or would operate

           as a fraud or deceit upon any person.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant is permanently restrained and enjoined from violating Section 17(a) of the Securities

Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the

use of any means or instruments of transportation or communication in interstate commerce or

by use of the mails, directly or indirectly:

       (a) to employ any device, scheme, or artifice to defraud;

       (b) to obtain money or property by means of any untrue statement of a material factor

           any omission of a material fact necessary in order to make the statements made, in

           light of the circumstances under which they were made, not misleading; or

       (c) to engage in any transaction, practice, or course of business which operates or would

           operate as a fraud or deceit upon the purchaser.




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       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant shall

pay a civil penalty pursuant to Sections 21A of the Exchange Act [15 U.S.C. § 78u-1]. The Court

shall determine the amount of the civil penalty, in an amount up to $517,435, upon motion of the

Commission. In connection with the Commission’s motion for civil penalties, and at any hearing

held on such a motion: (a) Defendant will be precluded from arguing that he did not violate the

federal securities laws as alleged in the Complaint; (b) Defendant may not challenge the validity

of the Consent or this Judgment; (c) solely for the purposes of such motion and any proceedings

related thereto, the allegations of the Complaint shall be accepted as and deemed true by the

Court; and (d) the Court may determine the issues raised in the motion on the basis of affidavits,

declarations, excerpts of sworn deposition or investigative testimony, and documentary evidence,

without regard to the standards for summary judgment contained in Rule 56(c) of the Federal

Rules of Civil Procedure. In connection with the Commission’s motion, the parties may take

discovery, including discovery from appropriate non-parties.

                                                IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.



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                                                 V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the

allegations in the complaint are true and admitted by Defendant, and further, any debt for civil

penalty or other amounts due by Defendant under this Judgment or any other judgment, order,

consent order, decree or settlement agreement entered in connection with this proceeding, is a

debt for the violation by Defendant of the federal securities laws or any regulation or order

issued under such laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C.

§ 523(a)(19).

                                                VI.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall

retain jurisdiction of this matter for the purposes of enforcing the terms of this Judgment.

                                                VII.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Judgment forthwith and without further notice.




                                    __________________________________
                                            LORNA G. SCHOFIELD
                                       UNITED STATES DISTRICT JUDGE
                                    Dated: April 17, 2023
                                           New York, New York




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